            Case 4:20-cv-10807-TSH Document 22 Filed 08/13/20 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


MOHAMMADMAHDI AGHELI
HAJIABADI,

       Plaintiff,

       v.
                                                        Civil Action No. 20-10807-TSH
CHAD F. WOLF, in his official capacity as
ACTING SECRETARY OF UNITED
STATES DEPARTMENT OF HOMELAND
SECURITY, et al.,

       Defendants.


                 CONSENT MOTION FOR LEAVE TO FILE OPPOSITION
                       TO MOTION TO STAY UNDER SEAL

       Pursuant to Local Rules 7.2 and 83.6.11, Plaintiff hereby moves for leave to file under

seal his forthcoming Opposition to Defendants’ Motion to Stay. The Plaintiff’s Opposition

contains references to information of a sensitive nature that cannot be disclosed to the public.

Plaintiff has conferred with counsel for the Defendants regarding this motion, and Defendants

consent to the filing of this motion for leave to file under seal.

       WHEREFORE, Plaintiff requests that this motion be granted and that Plaintiff be

permitted to file his forthcoming Opposition to the Motion to Stay under seal.


Dated: August 13, 2020
                                                      Respectfully submitted,

                                                       MOHAMMADMAHDI AGHELI
                                                       HAJIABADI

                                                       By his attorneys,

                                                       /s/ Joseph L.Demeo
                                                       Joseph L. Demeo (BBO No. 561254)
          Case 4:20-cv-10807-TSH Document 22 Filed 08/13/20 Page 2 of 2




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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that I have conferred with Defendants’
counsel about this Motion and counsel has consented to the filing of this Motion.


                                                       /s/Joseph L. Demeo
                                                       Joseph L. Demeo




                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 13, 2020, this document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (“NEF”), and paper copies will be sent to those indicated as non-registered participants.

                                                       /s/ Joseph L. Demeo
                                                       Joseph L. Demeo




                                                -2-
